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                                 UNITED STATED DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
                                    MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                             DATE: 6/25/2020
JUDGE: JOHN MICHAEL VAZQUEZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:                                             DOCKET# 2 0 - 7 0 7 6

Salerno Medical v Intergreity Practice Solutions

APPEARANCES:

Christopher Salloum, Esq. for Plaintiff
Steve Tettler, Esq. Plaintiff
Mohamed Nabulsi, Esq.
Michelle Greenberg, Esq. for Defendant
Jason Silverberg, Esq. for Defendant


Nature of Proceedings: STATUS TELEPHONE CONFERENCE held on the record

Status conference held regarding the pending motion for TRO.
Briefing scheduled issued.
Oral argument is scheduled for July 10, 2020 at 2:00 p.m.


Time Commenced: 3:30
Time Adjourned: 4:30
Total Time: 1:00

                                               RoseMarie Olivieri
                                               SENIOR COURTROOM DEPUTY
